Case 2:05-cr-20212-SH|\/| Document 12 Filed 06/14/05 Page 1 of 2 Page|D 14

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WESTERN DISTRICT 0F TENNESSEE C'»:;:i J-’aa tit th `I- s
Western Division

 

UNITED STATES OF AMERICA

-vs- Case No. 2:050r20212-3-Ma

WILLIE ROGERS

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
THURSDAY, JUNE 16, 2005 at 2:45 P.M. before United States Magistrate Judge S. Thomas
Anderson in Courtroom M-3, 9“‘ Floor, United States Courthouse and Federal Building, 16? North
Main, Memphis, TN. Pending this hearing, the defendant shall be held in custody by the United
States Marshal and produced for the hearing

Date: June 13, 2005

lee

'"rU M. PHAM
UNITED sTATEs MAGISTRATE JUDGE

 

'If not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant. 18 U.S.C. § 3142(1‘)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(£) are present. Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial oft'icer's own motion, if there is a serious risk that the
defendant (a) will tlee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (B!BE) Order of Ternporary Detention

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Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:05-CR-202]2 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Sarnuel Mays
US DISTRICT COURT

